                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                        )
                                                )        Case No. 4:16-cr-1
v.                                              )
                                                )        Judge Travis R. McDonough
WESLEY THOMAS RYAN                              )
                                                )        Magistrate Judge Susan K. Lee
                                                )


                                            ORDER



       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the

Court: (1) grant Defendant’s motion to withdraw his not-guilty plea to Count One of the five-

count Indictment; (2) accept Defendant’s plea of guilty to Count One of the Indictment; (3)

adjudicate Defendant guilty of the charges set forth in Count One of the Indictment; (4) defer a

decision on whether to accept the plea agreement until sentencing; and (5) order that Defendant

remain in custody until sentencing in this matter. (Doc. 38.) Neither party filed a timely

objection to the report and recommendation. After reviewing the record, the Court agrees with

the magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and

ADOPTS the magistrate judge’s report and recommendation (Doc. 38) pursuant to 28 U.S.C. §

636(b)(1) and ORDERS as follows:

       (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the

               Indictment is GRANTED;

       (2)     Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

       (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of

               the Indictment;



Case 4:16-cr-00001-TRM-SKL          Document 41 Filed 07/11/16            Page 1 of 2        PageID
                                          #: 170
      (4)   A decision on whether to accept the plea agreement is DEFERRED until

            sentencing; and

      (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

            scheduled to take place on September 23, 2016 at 2:00 p.m. [EASTERN] before

            the undersigned.


SO ORDERED.

ENTER:

                                       /s/Travis R. McDonough
                                       TRAVIS R. MCDONOUGH
                                       UNITED STATES DISTRICT JUDGE




                                       2
Case 4:16-cr-00001-TRM-SKL     Document 41 Filed 07/11/16         Page 2 of 2      PageID
                                     #: 171
